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EXHIBITS
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Brenner, Wendy

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From: Anna Levine [alevine@dralegal.org]

Sent: Wednesday, December 29, 2010 3:51 PM

To: Brenner, Wendy; Larry Paradis

Subject: Enyart v. NCBE

Attachments: letter.to.brenner.re-software. 12-29-10.FINAL.doc
Dear Wendy,

Please see the attached letter regarding the software requested.

Sincerely,

Anna Levine
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DRA

2001 Center Street, Fourth Floor
Berkeley, California 94704-1204
Telephone: (510) 665-8644
Facsimile: (610) 665-8511

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Via Email

Wendy Brenner

Cooley Godward Kronish, LLP
Five Palo Alto Square

3000 El Camino Real

Palo Alto, CA 94306-2155

December 29, 2010

Re: Enyart v. National Conference of Bar Examiners
Proposed Software

Dear Ms. Brenner,

This responds to your letter dated December 22, 2010, regarding
our emailed suggestion that “it might further help avoid the technological
issues that have occurred in the past to load the [software] versions that
Stephanie currently uses.”

Your letter states that NCBE has purchased and previously used
version 10.0.1178U of the screen reading software, JAWS, and version
9.18.7.16 of the screen magnification software, ZoomText. The letter
asks us to please advise if Ms. Enyart is requesting NCBE to purchase
JAWS version 12. It further asks us to advise whether Ms. Enyart
prefers ZoomText version 9.18.7.16 or ZoomText version 9.19.0.

Our understanding is that, unlike the older versions of JAWS and
ZoomText that Stephanie uses, the newer versions that you reference
do not work reliably together. The newer version of the screen reading
software, JAWS, works with MAGic, screen magnification software
produced by Freedom Scientific, the same company that produces
JAWS. As your letter indicates that the older versions of screen reading
and screen magnification software that Stephanie uses are no longer
available, NCBE should instead install MAGic rather than ZoomText, as
MAGic is the screen magnification software that will work with the newer
versions of the screen reading software, JAWS.

Therefore, we are requesting that NCBE purchase version 12 of
JAWS. Rather than installing either of the versions of ZoomText that
you reference, we request that NCBE instead install the JAWS
compatible version of MAGic screen magnification software currently
available.
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January 19, 2011

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Sincerely,

/s/ Anna Levine
